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                       IN THE UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF MISSISSIPPI
                                 EASTERN DIVISION

BRETT LORENZO FAVRE                                                                 PLAINTIFF

v.                                              CIVIL ACTION NO. 2:23-cv-00042-KS-MTP

SHANNON SHARPE                                                                    DEFENDANT

                                    NOTICE OF APPEAL

       Notice is hereby given that Plaintiff hereby appeals to the United States Court of Appeals

for the Fifth Circuit from this Court’s order granting Defendant’s motion to dismiss (Doc. 23) and

from this Court’s final judgment and dismissal entered on October 30, 2023 (Doc. 24).

       RESPECTFULLY SUBMITTED on this, the 29th day of November, 2023.

                                             BRETT LORENZO FAVRE, Plaintiff


                                             By:    /s/ Dan R. Benson

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                                 CERTIFICATE OF SERVICE

       I, the undersigned counsel for Plaintiff, do hereby certify that I have this day electronically

filed the foregoing document using the Court’s CM/ECF filing system, which provides an

electronic copy of the same to all counsel of record.

       THIS the 29th day of November, 2023.



                                              BY:       /s/ Eric D. Herschmann




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